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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

____________________________________
                                   )
AMERICAN OVERSIGHT,                )
1030 15th Street NW, B255          )
Washington, DC 20005               )
                                   )
                     Plaintiff,    )
v.                                 )
                                   )
U.S. DEPARTMENT OF                 )
DEFENSE,                           )
1600 Pentagon 3E788                )
Washington, DC 20301-1600          )
                                   )
U.S. ARMY,                         )
Office of the Army General Counsel )
101 Army Pentagon                  )
Washington, DC 20310-0104          )
                                   )
U.S. DEPARTMENT OF HOMELAND        )
SECURITY,                          )
245 Murray Lane SW                 )          Civil No. 1:21-cv-2800-TSC
Washington, DC 20528               )
                                   )
U.S. DEPARTMENT OF HOMELAND        )
SECURITY,                          )
OFFICE OF INSPECTOR GENERAL        )
Stop 0305                          )
245 Murray Lane SW                 )
Washington, DC 20528               )
                                   )
U.S. DEPARTMENT OF THE INTERIOR )
1849 C Street NW                   )
Washington, DC 20240               )
                                   )
and                                )
                                   )
U.S. DEPARTMENT OF JUSTICE,        )
950 Pennsylvania Ave. NW           )
Washington, DC 20530               )
                                   )
                     Defendants.   )
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                                   DEFENDANTS’ ANSWER

       Defendants, the United States Department of Defense (DOD), the United States Army

(Army), the United States Department of Homeland Security (DHS), the United States Department

of Homeland Security Office of Inspector General (DHS OIG), the United States Department of

the Interior (DOI), and the United States Department of Justice (DOJ) (collectively Defendants),

answer the Complaint (Dkt. No. 1) filed by Plaintiff American Oversight on October 21, 2021, as

follows:

       1.      This paragraph sets forth Plaintiff’s characterization of this lawsuit, to which no

response is required.

       2.      This paragraph consists of legal conclusions to which no response is required.

       3.      This paragraph consists of legal conclusions to which no response is required.

       4.      This paragraph consists of legal conclusions to which no response is required.

       5.      Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       6.      Admit that DOD is a department of the executive branch within the meaning of

FOIA. The remainder of the paragraph consists of legal conclusions to which no response is

required.

       7.      Admit that Army is a component of DOD, a department of the executive branch

within the meaning of FOIA. The remainder of the paragraph consists of legal conclusions to

which no response is required.

       8.      Admit that DHS is a department of the executive branch within the meaning of

FOIA. The remainder of the paragraph consists of legal conclusions to which no response is

required.



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        9.      Admit that DHS OIG is a component of DHS which is a department of the executive

branch within the meaning of FOIA. The remainder of the paragraph consists of legal conclusions

to which no response is required.

        10.     Admit that DOI is a department of the executive branch within the meaning of

FOIA. The remainder of the paragraph consists of legal conclusions to which no response is

required.

        11.     Admit that DOJ is a department of the executive branch within the meaning of

FOIA. The remainder of the paragraph consists of legal conclusions to which no response is

required.

        12.     Admit that American Oversight submitted FOIA requests to DOD, Army, DHS,

DHS OIG, DOI, and DOJ on August 19, 2021 and August 20, 2021. Defendants respectfully refer

the Court to those FOIA requests for a full and accurate statement of their contents.

        13.     Admit that DOD, Army, DHS, DHS OIG, DOI, and DOJ received FOIA requests

from Plaintiff dated August 19, 2021 and August 20, 2021. Defendants respectfully refer the Court

to those FOIA requests for a full and accurate statement of its contents.

        14.      Admit that DOD received the FOIA request referenced in paragraph 13.

Defendants respectfully refer the Court to that FOIA request for a full and accurate statement of

its contents.

        15.     Admit that on August 19, 2021, DOD acknowledged receipt of the FOIA request

referenced in paragraphs 13-14, but avers that the request was assigned case number 21-F-1431.

Defendants further aver that DOD separately received a duplicate request from Plaintiff, also on

August 19, 2021, that was assigned case number 21-F-1434.             This duplicate request was

administratively closed by a final response letter sent by DOD’s Freedom of Information Division



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to Plaintiff on August 20, 2021. Defendants respectfully refer the Court to the August 20, 2021

final response letter for case number 21-F-1434 for a full and accurate statement of its contents.

        16.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

        17.     Admit.

        18.     Admit that Army received the FOIA request referenced in paragraph 13.

Defendants respectfully refer the Court to that FOIA request for a full and accurate statement of

its contents.

        19.     Admit.

        20.     Admit that DHS received the FOIA request referenced in paragraph 13. Defendants

respectfully refer the Court to that FOIA request for a full and accurate statement of its contents.

        21.     Admit that by letter dated September 9, 2021 DHS acknowledged Plaintiff’s

August 19, 2021 FOIA request and assigned the request tracking number 2021-HQFO-

01355. Defendants respectfully refer the Court to that letter for a full and accurate statement of its

contents.

        22.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

        23.     Admit.

        24.     Admit that DOI received the FOIA request referenced in paragraph 13. Defendants

respectfully refer the Court to that FOIA request for a full and accurate statement of its contents.

        25.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

        26.     Admit.



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        27.     Admit that DOJ received the FOIA request referenced in paragraph 13. Defendants

respectfully refer the Court to that FOIA request for a full and accurate statement of its contents.

        28.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

        29.     Admit that DOJ assigned the request as complex track and that DOJ extended the

time limit to respond to the request. Defendants respectfully refer the Court to the referenced

communication for a full and accurate statement of its contents.

        30.     Admit.

        31.     Admit.

        32.     Admit that Army, DHS, and DHS OIG received FOIA requests from Plaintiff dated

August 19, 2021. Defendants respectfully refer the Court to those FOIA requests for a full and

accurate statement of its contents.

        33.     Admit.

        34.     Admit that by letter dated September 9, 2021 DHS acknowledged Plaintiff’s

August 19, 2021 FOIA request and assigned the request tracking number 2021-HQFO-

01356. Defendant DHS OIG admits that by letter dated August 26, 2021, DHS OIG acknowledged

Plaintiff’s FOIA request and assigned it Case No. 2021-IGFO-00213. Defendants respectfully

refer the Court to that letter for a full and accurate statement of its contents.

        35.     Admit, but aver that the date was August 26, 2021.

        36.     Admit that by letter dated September 9, 2021, DHS advised Plaintiff that it was

closing its request and referring Plaintiff’s request to DHS OIG. Defendants respectfully refer the

Court to the referenced communication for a full and accurate statement of its contents.

        37.     Admit.



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       38.     Admit that DOD, Army, DOI, and DOJ received FOIA requests from Plaintiff dated

August 19, 2021 and August 20, 2021. Defendants respectfully refer the Court to those FOIA

requests for a full and accurate statement of its contents.

       39.     Admit. Defendants aver that it received the request referenced in paragraph 38 on

August 20, 2021 and logged the request and assigned it case number 21-F-1433.

       40.     Admit.

       41.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

       42.     Admit.

       43.     Admit. Defendants respectfully refer the Court to the referenced communication

for a full and accurate statement of its contents.

       44.     Admit.

       45.     Admit that as of the date of the complaint, Defendants have not provided Plaintiff

with a final determination on its referenced FOIA requests or produced any documents.

       46.     This paragraph consists of legal conclusions to which no response is required.

       47.     Defendants incorporate by reference their responses to the preceding paragraphs.

       48.     This paragraph consists of legal conclusions to which no response is required.

       49.     Admit that Defendants are subject to FOIA. The remainder of the allegations in

this paragraph consist of legal conclusions to which no response is required.

       50.     This paragraph consists of legal conclusions to which no response is required.

       51.     This paragraph consists of legal conclusions to which no response is required.

       52.     This paragraph consists of legal conclusions to which no response is required.

       53.     Defendants incorporate by reference their responses to the preceding paragraphs.



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        54.     This paragraph consists of legal conclusions to which no response is required.

        55.     Admit that Defendants are subject to FOIA. The remainder of the allegations in

this paragraph consist of legal conclusions to which no response is required.

        56.     This paragraph consists of legal conclusions to which no response is required.

        57.     This paragraph consists of legal conclusions to which no response is required.

        58.     This paragraph consists of legal conclusions to which no response is required.

        The remainder of the Complaint sets forth Plaintiff’s requested relief to which no response

is required. To the extent a response is required, Defendants deny that Plaintiff is entitled to the

requested relief or to any relief.

        Defendants deny all allegations in the Complaint not expressly admitted or denied.

                                               DEFENSE


        1.      Plaintiff is not entitled to compel the production of any records exempt from

disclosure by one or more exemptions of the FOIA, 5 U.S.C. § 552.

Dated: December 6, 2021                              Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     ELIZABETH J. SHAPIRO
                                                     Deputy Branch Director

                                                     /s/ Lisa Newman
                                                     Lisa Newman (TX Bar No. 24107878)
                                                     Trial Attorney
                                                     U.S. Department of Justice
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                                                     Counsel for Defendants

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